                                             GDfff ­
       Case 2:16-cv-01326-AKK-JHE Document 23 Filed 11/06/17 Page 1 of 2            FILED
      ,.   IN THE UNITED STATE DISTRICT COURT FOR THE NORTHERN
                                                                           2017 Nov-06 PM 01:14
                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA
             DISTRICT FOR THE SOUTHERN DIVISION



QUENTIN TRUSS, AIS#181630
           PLAINTIFF,                             i:. :10
                                     zo:     -b   ii"21   16-cv-01326-AKK-JHE

v.                                  U.!
                                     ~\
                                     n.! ~
LATASHA TERRELL, et. al.,
           DEFENDANTS,



                   PLAINTIFFS' NOTICE TO PARTIES OF HIS
                    ACCEPTANCE OF SETTLEMENT OFFER, AND
                    THE CONDITIONS WHICH PLAINTIFF ATTACHES
             COMES NOW, THE ABOVE PLAINTIFF, BY AND THROUGH HIMSELF,

AND DOES HERE MOVE TO PLACE THIS COURT AND THE PARTIES ON NOTICE

THAT THE PLAINTIFF ACCEPTS THE SETTELMENT OFFER MADE BY THE

DEFENDANTS UNDER SPECIAL CONDITIONS:

(A) THAT THE COURT COSTS FOR THIS CASE ACTION WILL BE PAID FOR
      BY THE DEFENDANTS,

(B) THAT THE FILING FEE FOR THIS CASE ACTION BE PAID FOR BY THE
     DEFENDANTS,

NO OTHER SPECIAL CONDITIONS FOLLOWS.


WHEREFORE THE PREMSIES CONSIDERED, THE PLAINTIFF SUBMITS THIS
NOTICE TO ALL PARTIES CONCERNED.
                                                    RESPECTFULLY SUBMITTED,
                                                    ~~.~ J~~h\~
                                                  QUENTIN TRUSS #181630
                                                      PLAINTIFF, prose
                                                      100 WARRIOR LANE
                                                      BESSEMER, AL. 35023



                                    1 of 2
           Case 2:16-cv-01326-AKK-JHE Document 23 Filed 11/06/17 Page 2 of 2

•                                CERTIFICATE OF SERVICE
    I HEREBY CERTIFY THAT I HAVE SERVED A COpy OF THE FOREGOING UPON


    AFFIXED, ON THIS              ancl
    THE COUNSEL FOR DEFENDANTS, VIA., U.S. MAIL, POSTAGE PROERLY
                                         DAY OF          (J. OV.fi t\A-\?-e
    FASCIMILIE FROM WARDEN LEON BOLLING, W.E. DONALDSON PRISON,
                                                                              v-   ,201 7,   &   BY WAY OF


    ON TH I S   Ot"rl DAY   OF    ('Ao)J ~   tM.\ax '(        , 201 7 •

                                                                                   QUENTIN TRUSS, pross
    OFFICE OF HON. JACK WALLACE JR.
    ASSISTANT ATTORNEY GENERAL
    STATE OF ALABAMA
    501 WASHINGTON AVE.
    MONTGOMERY, AL. 36130-0152
    (334)242-7300-(phone)
    (334) 242-2433-(fax)
    jwallace@ago.state.al.us




    SWORN TO AND SUBSCRIBED BEFORE ME ON THIS                                 ~                              ,2017.



                                                                       MY COMM. EXP.




                                                         2 of 2
